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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     LEXINGTON

 UNITED STATES OF AMERICA,                           )
                                                     )
       Plaintiff,                                    )      No. 5:18-CR-81-REW-MAS
                                                     )
 v.                                                  )
                                                     )                 ORDER
 VLAD-CALIN NISTOR,                                  )
                                                     )
       Defendant.                                    )
                                                     )
                                                     )

                                        *** *** *** ***

       After conducting Rule 11 proceedings, see DE 648 (Minute Entry), Judge Stinnett

recommended that the undersigned accept Defendant Nistor’s guilty plea and adjudge him guilty

of Count 1 of the Superseding Indictment. See DE 652 (Recommendation); see also DE 650 (Plea

Agreement); DE 249 (Superseding Indictment) ¶¶ 7–29. Judge Stinnett expressly informed

Defendant of his right to object to the recommendation and to secure de novo review from the

undersigned. See DE 652 at 2–3. The established, 3-day objection deadline has passed, and no

party has objected.

       The Court is not required to “review . . . a magistrate’s factual or legal conclusions, under

a de novo or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106

S. Ct. 466, 472 (1985); see also United States v. Walters, 638 F.2d 947, 949–50 (6th Cir. 1981)

(holding that a failure to file objections to a magistrate judge’s recommendation waives the right

to appellate review); Fed. R. Crim. P. 59(b)(2)-(3) (limiting de novo review duty to “any objection”

filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the

recommendation “to which objection is made”).

                                                 1
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       The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

       1. The Court ADOPTS DE 652, ACCEPTS Nistor’s guilty plea, and ADJUDGES him

           guilty of Count 1 of the Superseding Indictment (DE 249 ¶¶ 7–29);

       2. The forfeiture allegation of the operative indictment names Defendant Nistor. See DE

           249 at 85–89. Though the charging document alleges specifically forfeitable property,

           see id. at 88, it does not identify any property in which Nistor has a readily apparent

           interest. The plea agreement does not directly address forfeiture. But see DE 650 ¶ 11.

           And, per the recommendation, the Government represents that the forfeiture allegations

           “are still at issue.” DE 652.

       3. The Court must “as soon as practical after a . . . plea of guilty is accepted . . . determine

           what property is subject to forfeiture under the applicable statute.” Fed. R. 32.2(b)(1).

           To that end, Defendant Nistor SHALL, within 10 days, file a notice advising whether

           he intends to seek a jury determination regarding forfeiture or is waiving any claim to

           jury consideration and consenting to the Court’s resolution of all forfeiture issues.1 The

           Government SHALL, within 7 days of Defendant’s filing, submit a status report

           regarding forfeiture. Defendant Nistor, within 14 days of the Government’s status

           report, SHALL respond;

       4. The Court, as to this Defendant only, GENERALLY CONTINUES the jury trial in

           this matter; and




1
 If electing the latter, the notice must affirmatively indicate—either via (1) a waiver and consent
personally signed by Defendant Nistor or via (2) an affirmative counsel representation of
consultation and client consent—Nistor’s agreement to Court handling and waiver of jury
consideration.
                                                  2
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       5. The Court will issue a separate sentencing order.2

       This the 27th day of May, 2020.




2
 At the hearing, Judge Stinnett remanded Nistor to custody. See DE 648. The Court, thus, sees no
need to further address detention, at this time.
                                               3
